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                                                                  TRANSMITTAL SHEET
                                                                 (Notice of Appellate Action)

  X Notice of Filing                                        UNITED STATES DISTRICT COURT                 District Court Case: WDQ-09-288
    Cross Appeal                                            FOR THE DISTRICT OF MARYLAND
    Interlocutory Appeal                                            AT BALTIMORE                         4 CCA Case No.
    Additional NOA
    Amended NOA                                        USA                                               Case Manager:
    Transmittal of Record                               V
    Supplement to ROA
    Supplemental Certificate
                                                       Russell Jones
    Other:




 Part I
 Notice of appeal is enclosed to all parties (except to appellant in civil cases); NOA, docket entries, district court opinion and order, and magistrate
 judge=s recommendation (if applicable) are enclosed to 4CCA.

 1.   NOA filed: 12/10/2010                            4.    Fees
                                                                                               X no fee required (CJA)
 2.   Amended NOA                                       $5 filing fee:                   paid     unpaid
                                                       $450 docketing fee:               paid     unpaid
                                                       Pauper status:           granted     no       pending 3 strikes?           yes X no
                                                       Does PLRA apply?      Yes     X no
                                                       (If PLRA applies, 4CCA sends forms and acts on application.)

 3. District Judge: William D. Quarles, Jr.            5.    Materials Under Seal in District Court               X yes     no
                                                             Party Names Under Seal in District Court?             yes    X no

 6. Official Court Reporter(s)                         7.    Transcript                         X yes        no
    Contract Court Reporter
 Electronically                                        8.    Criminal/Prisoner Cases
 Martin Giordano
                                                            recalcitrant witness       Defendants Address:
 Coordinator(s):                                            on death row
   Stephanie L. Savoy                                       in custody
                                                            on bond
                                                            on probation

 Part II                                      TRANSMITTAL OF RECORD TO COURT OF APPEALS

 ORIGINAL RECORD                                                                   SUPPLEMENT TO RECORD -
 Pleadings:        Vols.                                                           Pleadings:        Vols.
 Transcript:       Vols.                                                           Transcript:       Vols.
 Exhibits :        Vols.                                                           Exhibits:         Vols.
 Depositions:      Vols.                                                           Depositions:      Vols.
 State Ct. Record: Vols.                                                           State Ct. Record: Vols.
 Sealed:           Vols.                                                           Sealed:           Vols.
 No. of Boxes                                                                      No. of Boxes




Deputy Clerk: Stephanie L. Savoy              Phone:             (410) 962-3928                                    Date: December 14 2010
